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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

In re Subpoena to Non-Party Lindsey
O. Graham in his official capacity as
United States Senator,                  Civil Action No.
                                        1:22-cv-03027-LMM
in the matter of:

Special Purpose Grand Jury, Fulton
County Superior Court Case No.
2022-EX-000024.



 MEMORANDUM IN SUPPORT OF SUPPLEMENTAL MOTION FOR
   PARTIAL QUASHAL ORDERED BY THIS COURT (DOC. 38),
             BY SENATOR LINDSEY GRAHAM
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                                 INTRODUCTION

      The Constitution guarantees that a Senator “shall not be questioned” about his

protected “Speech or Debate”—and yet the District Attorney insists that Senator

Graham must submit to questioning to ascertain whether he can be questioned or is

immune from questioning. That makes no sense. “Just as it is not reasonable to

destroy a village in order to save it, neither is it reasonable” to require a Senator to

lose his immunity in order to gain it. Edwards v. Niagara Credit Solutions, Inc., 584

F.3d 1350, 1353–54 (11th Cir. 2009). For the reasons explained earlier and below,

this Court should quash the subpoena compelling this unconstitutional questioning:

It is barred by, among other things, the Constitution’s Speech or Debate Clause.

      Senator Graham has served in the Senate since 2003; before that, he served in

the House. At all times relevant to this matter, he was the Chairman of the Senate

Judiciary Committee, where—like his predecessors of both political parties—he

held a hearing on elections and their administration, in fact, just two weeks after the

2020 Presidential election. 1


      1
         Breaking the News: Censorship, Suppression, and the 2020 Election,
https://www.judiciary.senate.gov/meetings/breaking-the-news-censorship-suppres-
sion-and-the-2020-election. Indeed, Committee Chairs of both political parties go-
ing back years have held hearings on, and have otherwise investigated, voting rights,
voting integrity, and election-law legislation. Chairman Durbin, for example, held
a hearing on The John R. Lewis Voting Rights Advancement Act and one entitled


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      With respect to presidential elections, the Constitution’s Twelfth Amendment

requires that Senator Graham, along with the entire legislature, watch the counting

of the electoral votes. The Electoral Count Act—the law since 1887—provides for

detailed voting procedures. Under the Constitution and laws, Senator Graham voted

to certify the 2020 Presidential election in favor of Joe Biden. Before doing so, and

given his obligations under the Twelfth Amendment and the Electoral Count Act,

Senator Graham sought to educate himself and investigate various allegations

regarding the 2020 election, and in so doing, and per his duties as a Senator and

Committee Chairman, spoke with numerous people, including election officials such

as the Secretary of State of Georgia. In fact, prior to his Electoral Count Act vote,

he invoked this due diligence in a Senate floor statement, where he explained his

vote. His investigation into the various allegations surrounding the 2020 election

also informed legislative activity, as evidenced by his co-sponsorship of the

Electoral Count Reform and Presidential Transition Improvement Act of 2022. 2




“Jim Crow 2021: The Latest Assault on the Right to Vote”; Chairman Grassley held
a hearing entitled “Russian Interference in the 2016 United States Election.” As
these examples illustrate, Senator Graham’s inquiry into voting integrity and elec-
tion law was well within the Judiciary Committee’s province.
      2
          https://www.congress.gov/bill/117th-congress/senate-bill/4573/cosponsors.


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      Now, the Fulton County District Attorney wishes to question Senator Graham

about some of this investigation. Per her Petition (leading to the subpoena), she seeks

to question Senator Graham regarding: “the substance of the telephone calls, the

circumstances surrounding his decision to make the telephone calls, the logistics of

setting up the telephone calls, and any communications between himself[] [and]

others involved in the planning and execution of the telephone calls.” Doc. 2-3

(Petition) ¶ 3. Simply put, the Fulton County District Attorney wishes to question

Senator Graham about the investigation that informed his vote per the Electoral

Count Act, his duties as Committee Chair, and the subsequent introduction of

legislation. This is exactly what the Speech or Debate clause is supposed to prevent.

      This Court has asked “exactly which questions and/or categories” the Speech

or Debate Clause bars. Doc. 38 at 1. It should bar questioning on all the topics

sought by the District Attorney and this subpoena (see Docs. 2-2, 2-3), and the other

topics suggested by Amici so far (which are not found in the plain text of the Petition,

Certificate, or subpoena), because all ultimately seek “inquiry into [the

investigation] and into the motivation for those acts,” Eastland, 421 U.S. at 508.

      As for partial quashal, certainly there must be something within the reach of

the subpoena that warrants “partial quashal or modification of the subpoena.” Fulton

Cnty. Special Purpose Grand Jury v. Graham, 2022 WL 3581876, at *1 (11th Cir.


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Aug. 22, 2022). A Senator’s investigation into a State’s absentee-ballot process and

alleged voting irregularities in the State—about topics on which legislation could be

had (and in fact was had), and with a vote on certifying the election under the

Electoral Count Act certainly impending—is quintessentially protected legislative

activity, regardless of how often the Fulton County District Attorney wishes to

ignore the certification vote, introduction of legislation, and the like. Investigations,

whether characterized as formal and informal, have been an integral part of

representative government from our Founding. See Trump v. Mazars USA, LLP,

140 S. Ct. 2019, 2031 (2020). “The power to investigate [thus] plainly falls within

th[e] definition” of ‘Speech or Debate.’” Eastland v. U.S. Servicemen’s Fund, 421

U.S. 491, 504 (1975). And so, as much as she wants to, the District Attorney cannot

“question[]” Senator Graham about his investigation. U.S. Const. art. I, § 6, cl. 1.

      To be clear: Senator Graham moved (and continues to move) this Court to

quash as much of the subpoena as it finds protected. If this Court thinks that is less

than all topics, it “must” at least “modify” the subpoena to prohibit all “protected

matter.” Fed. R. Civ. P. 45(d)(3)(A). The Court may allow questioning only and at

most on “categories of information” within the scope of the Subpoena and special

grand jury (Doc. 38 at 1) that the District Attorney proves neither implicate

legislative activity nor involve motives for legislative activity, as explained below.


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                                    ARGUMENT

      The Eleventh Circuit ordered this Court to determine whether Senator Graham

“is entitled to a partial quashal or modification of the subpoena . . . based on any

protections afforded by the Speech or Debate Clause.” Graham, 2022 WL 3581876,

at *1. Senator Graham is entitled to that relief, at the very least.

I.    SENATOR GRAHAM’S INVESTIGATION IS “LEGISLATIVE
      ACTIVITY” AND THUS PROTECTED.
      From her very first brief, the District Attorney has rightly agreed that if the

subpoena “implicate[s] any legislative act promoted by the Senator,” there may be

no “questions” on that topic. Doc. 9 at 10. This Court should hold that all, or at

least the core, of the questioning sought implicates a legislative act: Senator

Graham’s calls to “Secretary Raffensperger and his staff” to inquire about “absentee

ballots cast in Georgia” and “allegations of widespread voter fraud in the November

2020 election in Georgia,” Doc. 2-3 (Petition) ¶ 2. At least that much is “protected,”

and thus at least that much “must” be quashed. Fed. R. Civ. P. 45(d)(3)(A).

      A. Precedent has settled that a Senator’s investigation into a subject on which

legislation may be had is facially legislative as “Speech or Debate.” See, e.g.,

Eastland, 421 U.S. 491, 503–04; Tenney v. Brandhove, 341 U.S. 367, 377 (1951).

      And every objective fact here—“stripped of all considerations of intent and

motive,” Bogan v. Scott-Harris, 523 U.S. 44, 54–55 (1998)—shows that Senator


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Graham’s phone calls were part of just such a facially legislative investigation. For

one thing, Senator Graham had a certainly impending vote on certifying the election

under the Electoral Count Act. At the time, there were “allegations of widespread

voter fraud in the November 2020 election in Georgia” (Doc. 2-3 ¶ 2)—allegations

that Senator Graham had a right and duty to run down before deciding whether to

certify Joe Biden as “the legitimate President of the United States”—which he did,

in a vote informed by his investigation. 167 Cong. Rec. S31 (daily ed. Jan. 6, 2021).

      That alone is enough, but there is more. Senator Graham also co-sponsored

legislation to amend the Electoral Count Act to correct flaws he discovered during

his investigation. 3 He served as Judiciary Committee Chair reviewing election-

related issues. And he was investigating possible “national standards” for mail-in

voting. 4 See Art. I, § 4, cl. 1. This is thus the definition of a topic “on which

legislation may be had,” Eastland, 421 U.S. at 508—making it a protected

investigation. In light of all this, there is no basis for deeming these calls “personal”

(Doc. 27 at 12); rather, the facts show they are legislative activity immunized on a

straightforward application of the Speech or Debate Clause’s settled rules.


      3
        https://www.lgraham.senate.gov/public/index.cfm/co-sponsored-bills.
      4
          NBC News, https://www.nbcnews.com/politics/2020-election/georgia-
secretary-state-raffensperger-says-sen-graham-asked-him-about-n1247968
(Senator Graham statement regarding these calls (cited by the District Attorney,
Doc. 9 at 4)).

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      B. This Court cited “public disagreement” on one part of the calls—namely,

that “it has been suggested that Senator Graham was seeking to influence Secretary

Raffensperger’s actions,” whereas Senator Graham denied that. Id. at 12–13.

      This public disagreement, though, is “of no moment” to the question the

Eleventh Circuit ordered this Court to answer. Comm. on Ways & Means v. U.S.

Dep’t of Treasury, __ F.4th __, 2022 WL 3205891, at *6 (D.C. Cir. 2022). The reason

is this: The supposed “public dispute” concerns not the objective facts about what

Senator Graham asked on the calls, but rather what Secretary Raffensperger inferred

was being suggested—which is to say, Secretary Raffensperger’s speculation about

Senator Graham’s motives for saying what he said.5 And, as binding precedent

reiterates again and again, no matter the evidence offered for it, a motive for an action

simply does not factor into whether an action is protected by the Speech or Debate

Clause. See Bogan, 523 U.S. at 54–55; Tenney, 341 U.S. at 378; Scott v. Taylor, 405

F.3d 1251, 1256 n.7 (11th Cir. 2005). This is true for allegedly “political” and dual-

motive investigations, too. Ways & Means, 2022 WL 3205891, at *6. So not even

a deluge of evidence of political or other motivations (far less the slender reed

Secretary Raffensperger has suggested) would make this non-legislative.


      5
             https://www.cbsnews.com/news/georgia-election-brad-raffensperger-
lindsey-graham-throw-out-ballots (cited by the District Attorney in Opposing
Senator Graham’s Motion to Quash, Doc. 9 at 2)).

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      The District Attorney fails to grasp what her contrary position would mean—

and not just for Republicans or for Democrats, but for everyone. It would mean that

if one state official offers suggestions or “speculation as to motives” (Tenney, 341

U.S. at 377) about an act that, viewed objectively, falls within the scope of protected

“legislative activity,” a sitting Senator must be made to submit to questioning in

order to prove he should not have to submit to questioning. The longstanding and

venerable Speech or Debate immunity cannot be lost on such flimsy inferences and

suggestions. No: The People who ratified the Constitution ensured that Senators

would not “be subjected to the cost and inconvenience and distractions of

[questioning] upon a conclusion of the pleader” or someone’s “speculation as to

motives.” Tenney, 341 U.S. at 377. This case is not about a question-by-question

application of a privilege or even common-law legislative immunity; the Speech or

Debate Clause is enshrined in the text of the Constitution.

      And so, in keeping with the Clause and the precedent applying it, the focus

belongs on the objective facts, about which there is no dispute: A sitting Senator,

serving as the Chair of the Judiciary Committee and facing an impending, certain

vote on whether to certify a presidential election, asked about the reexamination of

absentee ballots and “made reference to allegations of widespread voter fraud in the

November 2020 election in Georgia,” (Doc. 2-3 ¶ 2), before, based on that


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investigation, voting to certify that election and co-sponsoring legislation to amend

the Electoral Count Act. That is textbook legislative activity, which should end the

analysis, as the Clause “forbids inquiry into acts which are purportedly or apparently

legislative, even to determine if they are legislative in fact.” United States v. Dowdy,

479 F.2d 213, 226 (4th Cir. 1973); accord Bryant v. Jones, 575 F.3d 1281, 1307 (11th

Cir. 2009) (immunity applied once it was determined that act was legislative—

without regard to “facts obviously suggest[ing] an improper motive”).

      C. The answer to “whether informal investigative inquiries by individual

members of Congress into issues that arguably fall within the member’s legislative

province constitute protected ‘legislative activity’ under the Speech or Debate

Clause,” Doc. 38, is “yes”—as confirmed by text, history, precedent, and purpose.

See also Doc. 18 at 5–8 (rebutting this argument).

      First, the text of the Clause makes no mention at all of any formality

requirement.    It refers neither to resolutions, nor to subcommittees, nor to

subpoenas—but instead states simply that “Senators . . . shall not be questioned in

any other place” “for any Speech or Debate in either House.” U.S. Const. art. I, § 6,

cl. 1. It refers to “Senators,” which means that an individual Senator’s investigation

is immunized so long as investigation qualifies as “Speech or Debate”—which,

under binding precedent, it does. See Eastland, 421 U.S. at 504. This is also how


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legislative immunity has been historically understood: “not so much the privilege of

the house, as an organized body, [but] of each individual member composing it,”

and extending to “every thing said or done by him, as a representative, in the exercise

of the functions of that office.” Coffin v. Coffin, 4 Mass. 1, 27 (1808); see Kilbourn

v. Thompson, 103 U.S. 168, 204, 26 L. Ed. 377 (1880) (calling Coffin “the most

authoritative case in this country on the construction of the provision”); see also

Kent v. Ohio House of Representatives Democratic Caucus, 33 F.4th 359, 363–65

(6th Cir. 2022) (collecting other cases of the immunity’s original meaning).

      Second, and understandably given this text and history, courts around the

country have recognized that “the applicability of the Speech or Debate Clause’s

protections does not hinge on the formality of the investigation.” SEC v. Comm. on

Ways & Means of the U.S. House of Representatives, 161 F. Supp. 3d 199, 236

(S.D.N.Y. 2015) (collecting Second and D.C. Circuit cases); see also, e.g., Gov’t of

Virgin Islands v. Lee, 775 F.2d 514, 521 (3d Cir. 1985) (“[F]act-finding, information

gathering, and investigative activities are essential prerequisites to the drafting of

bills and the enlightened debate over proposed legislation” and “[a]s such” are

protected “by legislative immunity.”); Miller v. Transamerican Press, Inc., 709 F.2d

524, 530 (9th Cir. 1983) (refusing to “permit[] a Congressman to be catechized about

the manner in which he obtained information,” even if informally). As the D.C.


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District Court put it in holding that the Clause applied to Congressman Schiff’s

informal letters sent to social-media companies, “acquisition of knowledge through

informal sources is a necessary concomitant of legislative conduct and thus should

be within the ambit of the privilege.” AAPS v. Schiff, 518 F. Supp. 3d 505, 517

(D.D.C. 2021) (quoting McSurely v. McClellan, 553 F.2d 1277, 1286 (D.C. Cir.

1976), and collecting cases)). And so “informal information gathering in connection

with or in aid of a legitimate legislative act” (here, voting and proposing legislation)

“is itself protected by the Speech or Debate Clause.” Jewish War Veterans of the

U.S. of America, Inc. v. Gates, 506 F. Supp. 2d 30, 57 (D.D.C. 2007); see, e.g., In re

McLean, 2019 WL 2353453, at *6 (D. Vt. June 4, 2019).

      Out-of-context reliance on “dicta in Bastien v. Office of Sen. Ben Nighthorse

Campbell, 390 F.3d 1301 (10th Cir. 2004),” does not change this conclusion. Puente

Arizona v. Arpaio, 314 F.R.D. 664, 671 (D. Ariz. 2016). In Bastien, a Senator fired

an aide, who later sued alleging discriminatory termination under a statute that

permitted such suits (and waived sovereign immunity). The fired aide’s “duties were

not legislative” but were limited to constituent services. 390 F.3d at 1305–06. And,

in any event, “[a] personnel decision is ‘not a legislative act.” Id. at 1318–19.6 To



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       Even still, the Court held open the possibility that “certain evidence may be
inadmissible in this litigation because it concerns [legislative] conduct.” Id. at 1304.

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read Bastien more broadly would be to leverage dicta into a conflict with at least

four other Circuits—and with the text, history, and purposes of the Clause; in actual

fact, Bastien can be easily harmonized with other cases, and is easily distinguishable.

      Third, it would make no sense to exclude an individual Senator’s investigation

from immunity under the Clause. “In order to propose legislation, debate and vote

intelligently, and inform the people about the workings of government, congressmen

must first be able to inform themselves.” Reinstein & Silverglate, Legislative

Privilege and the Separation of Powers, 86 Harv. L. Rev. 1113, 1153 (1973)

(emphasis added). A single Senator must be able to inform himself so that he can

intelligently initiate formal action; otherwise, the Senator “would be shooting in the

dark, unable to legislate ‘wisely or effectively.’” Trump, 140 S. Ct. at 2031; see

Jewish War Veterans, 506 F. Supp. at 56–57 (calling this distinction “illusory”).

Thus, investigation is “within the ambit of the [Clause] so that congressmen are able

to discharge their constitutional duties properly.” Reinstein, 86 Harv. L. Rev. at

1154 (emphasis added); see, e.g., United States v. Biaggi, 853 F.2d 89, 103 (2d Cir.

1988); Miller, 709 F.2d at 530 (The Clause immunizes “obtaining information

pertinent to potential legislation or investigation (emphasis added)).

      In sum, in recognizing that the Clause immunizes informal investigation, this

Court would break no new ground. This formal/informal distinction is found


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nowhere in the Senate’s Rules or in the Senate’s or Speech or Debate Clause’s

vernacular. To hold that the Clause does not apply to informal investigation, though,

would break new ground—undermining legislators’ ability to go about their business

and burying the courts in the difficulty of policing the ways in which legislators do

their work. This Court should stay on the firm path of constitutional text, history,

precedent, and policy, recognizing that the Clause protects informal investigation.7

      Because all the District Attorney has in fact sought are materials central to

this protected investigation and the motives behind it, complete quashal remains

appropriate.   But, as explained below (Section II.A), to the extent this Court

disagrees, it should at least partially quash or modify the Subpoena to prohibit any

questioning about the investigation and the motives behind it.

II.   THE COURT SHOULD ORDER QUASHAL TO THE FULL EXTENT
      OF THE SPEECH OR DEBATE CLAUSE IMMUNITY IT FINDS.

      This Court said its primary holding was that there are “multiple topics upon

which Senator Graham could face questioning that in no way implicate protected


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        Nor was this some sort of unauthorized investigation, as this Court seemed
to suggest, Doc. 38 at 2 n.1. That this was not formally authorized by some official
committee resolution does not make it unauthorized. After all, the Senator was a
committee chairman, with significant investigative authority. And “formal
authorization by Congress is [not] required for the investigation to be protected.”
McLean, 2019 WL 2353453, at *6. Plus, legislative immunity covers even
“irregular” acts that are “against [Congress’s] rules.” Kilbourn, 103 U.S. at 203; see,
e.g., Budowich v. Pelosi, 2022 WL 2274359, at *5 (D.D.C. June 23, 2022).

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legislative activity.” Doc. 37 at 4. Senator Graham respectfully disagrees, not only

on the merits but also about this whole exercise: carving his investigation into pieces

and considering various slices (and others outside the scope of the subpoena) in

isolation. But the Court should nevertheless at least partially quash or modify the

subpoena so that questioning is permitted only on topics covered by the subpoena

and certificate for which the Court concludes the Speech or Debate Clause does not

offer immunity. At the very least, therefore, and as explained below, the Court

should recognize that the Clause immunizes questioning about the Senator’s

investigation and his motives for undertaking it. See Eastland, 421 U.S. at 508.

      A.     This Court must at least partially quash the subpoena as to any
             topics protected by the Speech or Debate Clause, which includes at
             a minimum the investigation and motives for it.

      Rule 45(d)(3)(A) of the Federal Rules of Civil Procedure, which governs

quashal of subpoenas, “require[s]” at least partial quashal—the district court “must

quash or modify [the] subpoena”—where, as here, the subpoena seeks “privileged

or other protected matter.” As the Rule’s language makes clear, this is not a

“discretionary” basis for quashal or modification, but a “mandatory [one].” Jordan

v. Comm’r, Mississippi Dep’t of Corr., 947 F.3d 1322, 1335 (11th Cir. 2020). The

Court therefore should quash or modify the Subpoena so that no questioning can

occur with respect to any covered subjects that the Court holds immunized by the



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Speech or Debate Clause. That is, the Court should quash or modify to prevent

questioning precisely to the extent of its views on the reach of the Clause—without

stopping short of the Court’s perception of the Clause’s immunity.

      The request for partial quashal is preserved and procedurally proper. The

Eleventh Circuit’s Order compels that conclusion: The Eleventh Circuit had before

it this Court’s order concluding otherwise (Doc. 27 at 22 n.9) but nevertheless

remanded for this Court to revisit partial quashal. See Graham, 2022 WL 3581876,

at *1. That is the correct result, too. (1) A request for complete quashal encompasses

the “lesser included relief” of partial quashal in the alternative, Doc. 26 (Hearing Tr.)

at 12—in this context and many others, see, e.g., ML Healthcare Servcs. v. Publix

Super Markets, Inc., 881 F.3d 1293, 1305 (11th Cir. 2018) (partial quashal when

movant sought complete quashal).8 And (2) in any event, Senator Graham has

expressly argued—before, during, and after the hearing—that “If the Court Thinks

Some of the Subpoena’s Topics Not Immune From Questioning, This Court Should


      8
        See, e.g., Sky Harbor Atlanta Ne., LLC v. Affiliated FM Ins. Co., 2020 WL
759215, at *1 (N.D. Ga. Feb. 4, 2020) (partial quashal); Alexsam, Inc. v. IDT Corp.,
2013 WL 12070093, at *4 (N.D. Ga. Mar. 11, 2013) (same); Patriot Gen. Ins. Co.
v. Krebs, 2013 WL 870444, at *5 (N.D. Ga. Mar. 8, 2013) (same); Thompson v.
Piedmont Mgmt. Assocs., LLC, 2006 WL 8432910, at *2 (N.D. Ga. June 13, 2006)
(same); see also, e.g., Lamonte v. City of Hampton, Georgia, 576 F. Supp. 3d 1314,
1331 (N.D. Ga. 2021) (partial summary judgment when complete summary
judgment was sought), Winmark Corp. v. Brenoby Sports, Inc., 32 F. Supp. 3d 1206,
1210–11 (S.D. Fla. 2014) (narrow injunctions when litigants seek broad ones).

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Order Partial Quashal.” Doc. 23 at 13; see also, e.g., Doc. 26 (Hearing Tr.) at 72;

Doc. 18 at 14 n.4. His was a “timely” motion, requiring either full quashal or (at

least) “modif[ication].” Fed. R. Civ. P. 45(d)(3)(A)(iii). The Court should order this

now, at the very least with respect to Senator Graham’s investigative phone calls and

the motives behind them.

      B.     The other categories suggested are impermissible as well, but if any
             were permissible, this Court should allow only those to go forward.
      Senator Graham goes through the various “categories of information” offered

first by the Amici, and then by the Court and the District Attorney. The proper course

is complete quashal because no “questions and/or categories of information” offered

by anyone so far would be permissible. Doc. 38 at 1; see Docs. 2-1 at 5–20, 18 at 2–

10, and 23 at 3–13. But—and to be abundantly clear—this Court should quash

whatever parts of the subpoena it finds “protected.” Fed. R. Civ. P. 45(d)(3)(A)(iii).

      1. Questions related to the 2020 election. The core of what the District

Attorney is after—the telephone calls or, in her words (and note the emphasis),

testimony about “the substance of the telephone calls, the circumstances surrounding

his decision to make the telephone calls, the logistics of setting up the telephone

calls, and any communications between himself[] [and] others involved in the

planning and execution of the telephone calls,” Doc. 2-3 (Petition) ¶ 3 (emphasis

added)—is “privileged or other protected matter,” and thus “must” be quashed, Fed.


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R. Civ. P. 45(d)(3)(A). All of this testimony would involve “inquiry into acts that

occur in the regular course of the legislative process”—as explained above, an

investigation before certifying a presidential election, inter alia—“and into the

motivation for those acts.” Eastland, 421 U.S. at 508; see Brown & Williamson

Tobacco Corp. v. Williams, 62 F.3d 408, 423 (D.C. Cir. 1995) (rejecting “a broad

scale discovery of documents in a congressional file that comes from third parties”

because it can reveal legislative activity); In re Grand Jury Investigation, 587 F.2d

589, 595 (3d Cir. 1978) (telephone records potentially reflecting calls regarding

legislative acts protected, because such records could reveal nature of investigation).

      This Court, however, thought other topics supposedly alluded to in the District

Attorney’s Petition (for a subpoena), yet never specifically referenced in the

subpoena, fell “outside the phone calls.” Doc. 27 at 8. The Court listed: “(1) [the

Senator’s] potential communications and coordination with the Trump Campaign

and its post-election efforts in Georgia; (2) his knowledge of other groups or

individuals involved with efforts to influence the results of Georgia’s 2020 election;

and (3) his public statements following the 2020 election.” Id. at 8–9.

      The main problem with these topics, though, is that they are admittedly just

backdoor ways to question a Senator about his “motivation, preparation, and/or

aftermath of those calls.” Doc. 9 (DA’s Opp. Br.) at 26. Questioning Senator


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Graham about his “motivation[s]” for “those calls,” id., is obviously prohibited if,

as explained above, the calls themselves are “legislative”—it is “not consonant with

our scheme of government for a court to inquire into the motives of legislators.”

Bryant, 575 F.3d at 1307; see Eastland, 421 U.S. at 508. So, for example, asking

whether Senator Graham “coordinat[ed] with the Trump Campaign” before making

the calls and “regarding post-election efforts in Georgia”—as this Court said the

District Attorney could ask, Doc. 27 at 10—is only a slightly slyer way of asking,

“Why did you really make your Georgia post-election calls: (1) solely because of

your upcoming Electoral Count Act vote or in investigating the need for potential

legislation, or (2) also because President Trump asked you to?” The Speech or

Debate Clause exists to prevent that kind of questioning, backdoor or not. Topics

such as connections to the Trump campaign and third parties and arranging the calls

should not be permitted on the same reasoning. See, e.g., Texas v. Holder, 2012 WL

13070060, at *2 (D.D.C. June 5, 2012) (three-judge district court) (Non-legislative

activities cannot be used “to reveal [a representative’s] subjective motivations.”).

      The same goes for public statements. While they are not per se “legislative,”

they cannot be used “to reveal the[] motivations” for legislative activity. E.g.,

Harding v. County of Dallas, 2016 WL 7426127, at *5 (N.D. Tex. Dec. 23, 2016).

Here, Senator Graham was responding to inquiries about the public revelation of the


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calls with the Georgia Secretary of State. Certainly, responding publicly to reports

on the investigative calls cannot somehow waive Speech or Debate protection, or

somehow allow for a backdoor into questions about the calls. See United States v.

Helstoski, 442 U.S. 477, 491 (1979). But, in any event, the Subpoena does not

include public statements within its ambit anyway. See Doc. 1-2 at 3–4.

      Finally is the topic of “efforts to ‘cajole’ or ‘exhort’ state election officials.”

Doc. 27 at 10. As an initial matter, despite a line or two of recurring dicta, the

Supreme Court has never held that the Speech or Debate Clause does not cover

efforts to convince executive officials to generally enforce or act upon a particular

understanding of the law; the Clause should cover such efforts because they can

obviate or inform the need for legislative action. And to not cover such efforts

requires an unnecessary dive into the motivation behind certain statements.

      But even if the Speech or Debate Clause does not protect encouraging elected

officials to generally enforce the law in a particular way, this Court should prohibit

questioning concerning supposed cajoling to “alter election results” (Doc. 27 at 10)

because again, it is merely a backdoor way to get at the Senator’s speculated motives

for the calls. The District Attorney’s only evidence of “cajoling” is Secretary

Raffensperger’s subjective assessment that, in making his calls about electoral

process, Senator Graham really wanted Secretary Raffensperger to throw out ballots.


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As already explained, that speculative assessment of Senator Graham’s motive has

no place in analysis under the Speech or Debate Clause. See supra at 5–7.

      At the very least, therefore, the Court should modify or quash the Subpoena

to prevent questioning concerning Senator Graham’s telephone calls to the extent

they pertain to the 2020 election and Senator Graham’s motive for making them,

along with any associated topics covered by the Subpoena—e.g., the “circumstances

surrounding” the decision to make them, the logistics of setting them up,

communications with others “involved in [their] planning and execution,” and any

follow-on communications and public statements. Doc. 2-3 (Petition) ¶ 3. That is

the minimum modification required by the Speech or Debate Clause.

      2. Unrelated to the 2020 election. During this litigation, the Court has

suggested potential lines of inquiry that are or could be unrelated to the 2020

election. For example, the Court has mentioned (a) a potential request that Senator

Raffensperger change the process with respect to the 2021 Senate run-off in Georgia

(Doc. 27 at 12 n.4 (citing Doc. 9 at 3–4, 12–13)) and (b) other matters unrelated to

the 2020 election. These potential lines of inquiry suffer from different flaws.

      a. Consider first the supposed “cajoling” of changes to state election practices

moving forward. To start, Senator Graham did no such thing: As the District

Attorney’s brief shows, this statement concerned potential legislation, asking if there


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“[i]s anything we can do to make it better?” Doc. 9 at 3; see U.S. Const. Art. I, § 4,

cl. 1 (“Congress may at any time by Law make or alter such [voting] Regulations.”).

And even if he had, the quality of Senate elections is a matter falling within a

Senator’s legislative bailiwick under the Constitution. U.S. Const. Art. I, § 5, cl. 1

(making the Senate “the Judge of the Elections, Returns and Qualifications of its

own Members.”). Plus, and in any event, requests for changes in implementation of

the laws is immunized by the Speech or Debate Clause, properly understood. If,

however, the Court disagreed with all of those propositions, the Court could omit

that line of inquiry—cajoling related to the then-upcoming 2021 Senate run-off—

from a quashal order based solely on the Speech or Debate Clause.

      But, even still, questioning on that topic would be improper for other reasons:

The scope of neither the Subpoena nor this special grand jury is broad enough to ask

questions about cajoling state officials to change their election practices going

forward. As for the subpoena/certificate, it covers only what it says it covers—

namely, “the telephone calls” as they relate to “the November 2020 election in

Georgia and elsewhere.” Doc. 2-2 at 3–4. And as for the special grand jury itself,

it may investigate “only” “the facts and circumstances relating directly or indirectly

to possible attempts to disrupt the lawful administration of the 2020 elections in the

State of Georgia.” Doc. 2-3 at 10–11 (emphasis added). Under Georgia law, “a


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special purpose grand jury has the power to compel testimony and other evidence

only insofar as it relates ‘directly or indirectly to the subject of the investigation’ as

set forth in the order authorizing its impaneling.” State v. Lampl, 770 S.E.2d 629,

632–33 (Ga. 2015) (emphasis added). Any questions unrelated to the 2020 Georgia

elections are thus beyond the purview of both the subpoena and special grand jury.

      b. This same analysis applies to any other topic this Court, the District

Attorney, or Amici can invent, such as media appearances. Questioning regarding

“statements and speeches given outside of Congress,” for example, fail on Speech

or Debate grounds (as backdoor questions about motives) if they are “regarding the

2020 election.” Doc. 27 at 10; see supra Section II.B. Assuming arguendo they fall

outside of the Clause’s immunity if selectively taken in isolation, they would in that

instance fall outside the scope of the subpoena and special grand jury if they are not

about the 2020 Georgia election. Lampl, 770 S.E.2d at 632–33. They would not be

a proper subject of questioning, therefore, even assuming this Court were to exclude

them from a partial quashal order under the Speech or Debate Clause.

      C.     This Court’s order inverts the burden.

      Following this Court’s order, this brief addresses the “categories of

information he is requesting the Court to address in an Order to partially quash the

subpoena.” Doc. 38 at 1. But this burden rightly falls on the District Attorney.



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      The District Attorney should bear the burden of identifying the questions she

wants to ask or, at a minimum, the specific topics she wants to cover that are within

the scope of the Subpoena (read in light of the Certificate, which copied the District

Attorney’s Petition) and the special grand jury, Lampl, 770 S.E.2d at 632–33—and

then, if there is debate about whether those topics are permissible, she must offer

evidence that those topics are not protected by the Clause. To hold otherwise is to

allow the District Attorney to evade the Speech or Debate Clause by requesting

amorphous testimony and then, like a moving target, springing new or elaborated

questions or issues on the Senator; the District Attorney, after all, is in the best

position to know what she wants to ask (assuming this is not a disorganized fishing

expedition). For that reason, if anyone suggests a further line of inquiry, Senator

Graham will address it in his Supplemental Reply Brief.

      But this is really just byproduct of a more fundamental issue: The burden

properly falls on the Government to show that a Senator’s activities fall outside the

Speech or Debate Clause. The Clause provides a jurisdictional immunity, and under

settled law, the party seeking to establish jurisdiction bears the burden of proving it

exists. See Rangel v. Boehner, 785 F.3d 19, 22 (D.C. Cir. 2015); AAPS, 518 F. Supp.

3d at 517; see also, e.g., McCormick v. Aderholt, 293 F.3d 1254, 1257 (11th Cir.

2002) (party invoking jurisdiction has the burden of proving facts establishing it).


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Nor does it make sense to require the legislator to “be questioned” to show that he

is immune from “be[ing] questioned.” U.S. Const. art. I, § 6, cl. 1.

      For this reason, if the Government wishes to inquire into broad topics—for

example, conversations with “other known and unknown individuals”—it should

(on pain of quashal) bear the burden of offering proof that those conversations were

not investigatory (or otherwise legislative)—for example, not the sharing of

allegations that must then be run to ground before a crucial Electoral Count Act vote.

Were it otherwise, the Speech or Debate Clause would be effectively worthless: A

prosecutor would need only make an open-ended request for information, leaving it

to the legislator to flail about describing his legislative activities. The Constitution—

and binding Supreme Court and Eleventh Circuit precedent—require more to pierce

the immunity. See Tenney, 341 U.S. at 378; United States v. Swindall, 971 F.2d

1531, 1546 (11th Cir. 1992) (holding evidentiary inference violated Clause because

it “virtually compels [the legislator] to justify his legislative actions”).9

      Thus, with respect to any broad category of sought information, the Court

should quash the subpoena unless the District Attorney makes an evidentiary


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         Bryant, 575 F.3d 1281, holds nothing to the contrary. It says nothing about
proof, and nothing on being questioned to avoid being questioned; only that the
official asserting immunity must show that it should cover the sort of action the
objective facts reveal and into which the other party wishes to inquire (there, an
administrative assistant’s drafting of a potential budget).

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showing that it includes specific conversations, actions, or information that are not

legislative, that are covered by the subpoena and special-grand-jury charge, and

about which the District Attorney (as opposed to some amicus) wants to ask.

                                 CONCLUSION

      The subpoena should be quashed in its entirety. But, as explained here and in

Senator Graham’s other papers, the Court must at minimum quash the subpoena to

the extent the Court determines that the Speech or Debate Clause (or any of the other

protections asserted by Senator Graham) applies to the topics for which the District

Attorney seeks questioning. Thus, this Court should at a minimum issue an order

partially quashing the subpoena to protect Senator Graham’s investigation and the

motives behind it.




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            CERTIFICATE OF COMPLIANCE WITH LR 5.1(B)

      I hereby certify that this brief has been prepared with one of the font, point,

and style selections approved by the Court in LR 5.1(B)—namely, double-spaced in

14-point Times New Roman font.

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                         CERTIFICATE OF SERVICE
      I hereby certify that on August 24, 2022, I electronically filed the original of

this brief with the Clerk of the Court using the CM/ECF system. Notice of this filing

will be sent to all attorneys of record by operation of the Court’s electronic filing

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